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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION
__________________________________________
                                           )
HONORABLE WENDELL GRIFFEN,                 )
                                           )
            Plaintiff,                     )
                                           )
         v.                                )   No. 4:17-cv-639-JM
                                           )   Hon. James M. Moody, Jr.
ARKANSAS SUPREME COURT, et al.,            )
                                           )
            Defendants.                    )
__________________________________________)

                  JUSTICES OF THE ARKANSAS SUPREME COURT’S
                ANSWER AND AFFIRMATIVE DEFENSES TO COMPLAINT

        The Honorable John Dan Kemp, the Honorable Robin F. Wynne, the Honorable Courtney

Hudson Goodson, the Honorable Josephine L. Hart, the Honorable Shawn A. Womack, the

Honorable Karen R. Baker, and the Honorable Rhonda K. Wood (collectively, “the Justices”) file

this Answer and Affirmative Defenses to Plaintiff the Honorable Wendell Griffen’s complaint:

                                  JURISDICTION AND VENUE

        1.       The Justices deny that this Court has subject matter jurisdiction over the Arkansas

Supreme Court, and they neither admit nor deny that the Court has subject matter jurisdiction over

the Justices.

        2.       The Justices deny that this Court should exercise supplemental jurisdiction over the

state law claims.

        3.       The Justices admit that this Court has personal jurisdiction over the Defendants.

        4.       The Justices admit that venue is proper in this district.

                                              PARTIES

        5.       The Justices admit the allegations of paragraph 5.



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       6.       The Justices deny the allegations of paragraph 6 to the extent the paragraph alleges

that the Justices and the Arkansas Supreme Court have total authority over assignment of cases to

the judges of the Arkansas Courts.

       7.       The Justices admit the allegations of paragraph 7.

                                    STATEMENT OF FACTS

       8.       The Justices admit the allegations in paragraph 8.

       9.       The Justices lack a sufficient basis to admit or deny the allegations in paragraph 9.

       10.      The Justices lack a sufficient basis to admit or deny the allegations in paragraph 10.

       11.      The Justices lack a sufficient basis to admit or deny the allegations in paragraph 11.

       12.      The Justices lack a sufficient basis to admit or deny the allegations in paragraph 12.

       13.      The Justices lack a sufficient basis to admit or deny the allegations in paragraph 13.

       14.      The Justices lack a sufficient basis to admit or deny the allegations in paragraph 14.

       15.      The Justices admit that Judge Griffen made the statement discussed in paragraph

15, though the Justices deny this constituted a “holding.”

       16.      The Justices lack a sufficient basis to admit or deny the allegations in paragraph 16.

       17.      The Justices lack a sufficient basis to admit or deny the allegations in paragraph 17.

                                     Good Friday Prayer Vigil

       18.      The Justices admit that Judge Griffen attended two anti-death-penalty rallies on

April 14, 2017. The Justices deny Judge Griffen’s characterization of the message communicated

by his attendance at the rally and his decision to lay on a cot. The Justices lack a sufficient basis

to admit or deny the remaining allegations in paragraph 18.




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       19.      The Justices lack a sufficient basis to admit or deny the allegations in paragraph 19.

The Justices deny that it is material whether Judge Griffen was acting in his official or judicial

capacity.

       20.      The Justices deny Judge Griffen’s allegation that he has a constitutionally-protected

right to participate in the vigil and simultaneously adjudicate cases involving capital punishment.

The Justices lack a sufficient basis to admit or deny the remaining allegations in paragraph 20.

                                       Judicial Proceedings

       21.      The Justices admit the allegations in paragraph 21.

       22.      The Justices admit the allegations in paragraph 22.

       23.      The Justices admit the allegations in paragraph 23.

       24.      The Justices lack a sufficient basis to admit or deny the allegations in paragraph 24.

       25.      The Justices admit the allegations in paragraph 25.

       26.      The Justices admit that Judge Griffen issued the temporary restraining order

referred to therein but they otherwise lack a sufficient basis to admit or deny the allegations of

paragraph 26.

       27.      The Justices admit that Judge Griffen set a hearing for Tuesday, April 18, but they

lack a sufficient basis to admit or deny whether that was the first date the parties indicated they

were available.

       28.      The Justices deny that the Arkansas Attorney General “[c]ho[se] not to ask Judge

Griffen to recuse himself,” but otherwise admit the allegations in paragraph 28.

       29.      The Justices deny the allegations in paragraph 29.

       30.      The Justices admit that they entered Order No. 17-155 and that the quotations from

the order are accurate, but they otherwise deny the allegations in paragraph 30.




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       31.     The Justices deny that Order No. 17-155 did not explain the reasoning for its

decision to remove Judge Griffen from certain cases.

       32.     The Justices deny the allegations of paragraph 32.

       33.     The Justices lack a sufficient basis to admit or deny the allegations in paragraph 33.

       34.     The Justices lack a sufficient basis to admit or deny the allegations in paragraph 34.

       35.     The Justices deny the allegations of paragraph 35.

       36.     The Justices admit the allegations of paragraph 36.

       37.     The Justices lack a sufficient basis to admit or deny the allegations in paragraph 37.

       38.     The Justices deny the allegations of paragraph 38. Further, the Justices deny they

are required to explain their rulings to a judge presiding over a case below.

       39.     The Justices lack a sufficient basis to admit or deny the allegations in paragraph 39.

       40.     The Justices deny the allegations of paragraph 40 to the extent the paragraph alleges

that the Justices of the Arkansas Supreme Court entered Order No. 17-155 in retaliation for Judge

Griffen’s exercise of his religious freedom through attendance at the Good Friday prayer vigil and

gathering and out of discriminatory racial animus toward him as a person of African-American

ancestry and racial identity. The Justices lack sufficient knowledge to admit or deny the remaining

allegations of paragraph 40.

       41.     The Justices deny the allegations of paragraph 41.

       42.     The Justices deny the allegations of paragraph 42.

       43.     The Justices admit the allegations of paragraph 43.

       44.     The Justices lack a sufficient basis to admit or deny the allegations of paragraph 44.

       45.     The Justices lack a sufficient basis to admit or deny the allegations of paragraph 45.

       46.     The Justices deny the allegations of paragraph 46.




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        47.     The Justices deny the allegations of paragraph 47.

                                         COUNT I
                       First Amendment Retaliation on the Basis of Speech

        48.     The Justices admit that Judge Griffen purports to incorporate by reference the

allegations in paragraph 1–47.

        49.     The Justices admit that Judge Griffen has First Amendment rights but they deny

that these rights entitle him to relief in this case.

        50.     The Justices admit that Judge Griffen expressed his views on a matter of public

concern but they deny that this entitles him to relief in the case.

        51.     The Justices deny the allegations of paragraph 51 to the extent it alleges that Judge

Griffen has a constitutional right to express his biased views about the death penalty and to also

adjudicate death penalty cases. Judge Griffen’s constitutional rights are also circumscribed to the

extent public employee speech appears to reflect the position of his government employer or

affects his ability to do their job.

        52.     The Justices deny the allegations of paragraph 52.

        53.     The Justices deny the allegations of paragraph 53.

        54.     The Justices admit that they acted within their judicial authority when they

reassigned Judge Griffen from cases involving capital punishment.

        55.     The Justices deny the allegations of paragraph 55.

        56.     The Justices deny the allegations of paragraph 56.

                                        COUNT II
                First Amendment Retaliation on the Basis of Religious Exercise

        57.     The Justices admit that Judge Griffen purports to incorporate by reference the

allegations in paragraph 1–56.



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       58.     The Justices deny the allegations of paragraph 58 to the extent it asserts that Judge

Griffen has a constitutional right to express his biased views about the death penalty and also

adjudicate death penalty cases.

       59.     The Justices admit that Judge Griffen has a constitutionally protected right to

engage in religious express, but they lack a sufficient basis to admit or deny that he engaged in

religious expression by attending the prayer vigil and gathering.

       60.     The Justices deny the allegations of paragraph 60.

       61.     The Justices deny the allegations of paragraph 61.

       62.     The Justices deny the allegations of paragraph 62.

       63.     The Justices deny the allegations of paragraph 63.

       64.     The Justices deny the allegations of paragraph 64.

       65.     The Justices deny the allegations of paragraph 65. The Justices further deny Order

17-155 constituted punishment of Judge Griffen.

       66.     The Justices deny the allegations of paragraph 66.

       67.     The Justices admit the allegations of paragraph 67.

       68.     The Justices deny the allegations of paragraph 68.

                                        COUNT III
                Violation of the Arkansas Religious Freedom Restoration Act

       69.     The Justices admit that Judge Griffen purports to incorporate by reference the

allegations in paragraph 1–68.

       70.     The Justices admit the allegations of paragraph 70.

       71.     The Justices admit that Judge Griffen has expressed sincerely held religious beliefs

about the death penalty.




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       72.     The Justices admit that Judge Griffen sincerely believes that he was exercising his

religion by attending the Good Friday prayer vigil and gathering and by writing about the death

penalty on his blog.

       73.     The Justices deny that Judge Griffen’s views on whether his sincerely held beliefs

affect his ability to do his job, or that even the absence of actual bias based on those views or what

his actions in past cases may have been are material to the claims made in the Complaint, as alleged

in paragraph 73.

       74.     The Justices deny the allegations of paragraph 74.

       75.     The Justices deny the allegations of paragraph 75.

       76.     The Justices deny the allegations of paragraph 76.

       77.     The Justices deny the allegations of paragraph 77.

       78.     The Justices deny the allegations of paragraph 78.

                                            COUNT IV
                                            Due Process

       79.     The Justices admit that Judge Griffen purports to incorporate by reference the

allegations in paragraph 1–78.

       80.     The Justices admit the allegations of paragraph 80.

       81.     The Justices deny the allegations of paragraph 81.

       82.     The Justices deny the allegations of paragraph 82.

       83.     The Justices deny the allegations of paragraph 83.

       84.     The Justices deny the allegations of paragraph 84.

       85.     The Justices deny the allegations of paragraph 85. Further, the Justices lack a

sufficient basis to admit or deny that there was no urgency to their order.

       86.     The Justices deny the allegations of paragraph 86.


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       87.    The Justices deny the allegations of paragraph 87.

       88.    The Justices deny the allegations of paragraph 88.

       89.    The Justices deny the allegations of paragraph 89.

       90.    The Justices deny the allegations of paragraph 90.

                                         COUNT V
                          Violation of the Equal Protection Clause

       91.    The Justices admit that Judge Griffen purports to incorporate by reference the

allegations in paragraph 1–90.

       92.    The Justices admit the allegations of paragraph 92.

       93.    The Justices admit the allegations of paragraph 93.

       94.    The Justices admit the allegations of paragraph 94.

       95.    The Justices admit the allegations of paragraph 95.

       96.    The Justices admit the allegations of paragraph 96.

       97.    The Justices admit the allegations of paragraph 97.

       98.    The Justices admit the allegations of paragraph 98.

       99.    The Justices admit the allegations of paragraph 99.

       100.   The Justices deny the allegations of paragraph 100.

       101.   The Justices lack a sufficient basis to admit or deny the allegations of paragraph

101.

       102.   The Justices admit the allegations of paragraph 102.

       103.   The Justices lack a sufficient basis to admit or deny the allegations of paragraph

103.

       104.   The Justices lack a sufficient basis to admit or deny the allegations of paragraph

104.


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       105.    The Justices lack a sufficient basis to admit or deny the allegations of paragraph

105.

       106.    The Justices lack a sufficient basis to admit or deny the allegations of paragraph

106.

       107.    The Justices lack a sufficient basis to admit or deny the allegations of paragraph

107.

       108.    The Justices lack a sufficient basis to admit or deny the allegations of paragraph

108.

       109.    The Justices admit the allegations of paragraph 109.

       110.    The Justices lack a sufficient basis to admit or deny the allegations of paragraph

110.

       111.    The Justices admit the allegations of paragraph 111.

       112.    The Justices deny the allegations of paragraph 112.

       113.    The Justices admit the allegations of paragraph 113.

       114.    The Justices lack a sufficient basis to admit or deny the allegations of paragraph

114.

       115.    The Justices deny the allegations of paragraph 115.

       116.    The Justices admit the allegations of paragraph 116.

       117.    The Justices lack a sufficient basis to admit or deny the allegations of paragraph

117.

       118.    The Justices lack a sufficient basis to admit or deny the allegations of paragraph

118 to the extent they allege that Parker was “allowed” to resign.

       119.    The Justices deny the allegations of paragraph 119.




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       120.    The Justices deny the allegations of paragraph 120.

       121.    The Justices deny the allegations of paragraph 121.

                                          COUNT VI
                       Civil Conspiracy in Violation of 42 U.S.C. § 1985

       122.    The Justices admit that Judge Griffen purports to incorporate by reference the

allegations in paragraph 1–121.

       123.    The Justices deny the allegations of paragraph 123.

       124.    The Justices deny the allegations of paragraph 124.

       125.    The Justices deny the allegations of paragraph 125.

       126.    The Justices deny the allegations of paragraph 126.

       127.    The Justices deny the allegations of paragraph 127.

       128.    The Justices deny the allegations of paragraph 128.

       129.    The Justices deny the allegations of paragraph 129.

       130.    The Justices deny the allegations of paragraph 130.

       131.    The Justices deny the allegations of paragraph 131.

       132.    The Justices deny the allegations of paragraph 132.

       133.    The Justices deny the allegations of paragraph 133.

       134.    The Justices admit that Judge Griffen has stated that he reserves the right to

supplement the allegations of his complaint during discovery.

                                     PRAYER FOR RELIEF

       The allegations in this paragraph requesting relief are in the nature of prayer. Although no

answer is required, the Justices respond to the individual requests for relief as follows:

       a. The Justices deny that Judge Griffen is entitled to the requested relief.

       b. The Justices deny that Judge Griffen is entitled to the requested relief.


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       c. The Justices deny that Judge Griffen is entitled to the requested relief.

       d. The Justices deny that Judge Griffen is entitled to the requested relief.

                                  AFFIRMATIVE DEFENSES

                                        Judicial Immunity

       1.      The Justices are judicially immune from Judge Griffen’s claims.

                                      Legislative Immunity

       2.      The Justices are legislatively immune from Judge Griffen’s claims.

                                       Sovereign Immunity

       3.      The Justices have sovereign immunity from Judge Griffen’s claims.

                                       Qualified Immunity

       4.      The Justices have qualified immunity from Judge Griffen’s claims. The Justices

affirmatively plead that, with respect to the allegations in Plaintiff’s complaint, they at all times

acted in good faith and within the scope of their authority under applicable law and their

employment duties, and thus are entitled to good faith and qualified immunity from suit under both

state and federal law.

                                      Improper Defendants

       5.      The complaint should be dismissed because Judge Griffen has sued the improper

defendants.

                                   Action in Judicial Capacity

       6.      The complaint should be dismissed because the Justices acted in their judicial

capacity, injunctive relief may not be granted unless a declaratory decree was violated or

declaratory relief was unavailable, and the complaint does not allege that declaratory relief was

violated or declaratory relief was unavailable.




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                                             Abstention

       7.      This Court should abstain from deciding this case under principles of federalism,

comity, and because there were pending state actions against Judge Griffen at the time the

complaint was filed.

                                Eleventh Amendment Immunity

       8.      The Justices are entitled to immunity under the Eleventh Amendment.

                                         Rooker Feldman

       9.      Judge Griffen’s complaint is barred under the Rooker Feldman doctrine.

                               Lack of Subject Matter Jurisdiction

       10.     This Court lacks subject matter jurisdiction over the case.

                                         Lack of Standing

       11.     Judge Griffen lacks standing to bring this case because he has suffered no concrete

injury that is fairly traceable to the actions of the defendants and because the injury will not be

redressed by a favorable decision.

                                     Costs and Attorneys Fees

       12.     Judge Griffen is not entitled to costs and attorneys’ fees.

       13.     Additionally, 42 U.S.C. § 1983 bars the recovery of costs, including attorneys’

fees, because this action is brought against judicial officers for acts or omissions taken in their

judicial capacity and such actions were not clearly in excess of the judicial officers’ jurisdiction.




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Dated: May 8, 2018                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 8, 2018, I electronically filed the foregoing document with the

Clerk of Court through the CM/ECF system for service this day via transmission of Notice of

Electronic Filing generated by ECF to all counsel of record.



                                                    /s/David H. Thompson
                                                    David H. Thompson




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